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  7

  8                           UNITED STATES DISTRICT COURT
  9           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 10

 11   JAMES MCAVOY, JOANNA                   Case No.:
      MCAVOY                                 [Los Angeles County Superior Court
 12                                          Case No.: 22AVCV00034]
                       Plaintiffs,
 13
      v.                                     DEFENDANT LOWE’S HOME
 14                                          CENTERS, LLC’S DEMAND FOR
      LOWE’S COMPANIES, INC.; and            TRIAL BY JURY
 15   DOES 1-100, inclusive
 16                    Defendants.           Complaint Filed: January 19, 2022
 17

 18          Defendant LOWE’S HOME CENTERS, LLC hereby demands trial by jury in
 19   this action.
 20

 21   Dated: April 11, 2022                        THARPE & HOWELL, LLP
 22

 23

 24                                          By:
                                                    STEPHANIE FORMAN
 25                                                 ANDREA BREUER
 26                                                 Attorneys for Defendant,
                                                    LOWE’S HOME CENTERS, LLC
 27                                                 (DOE 1)

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             DEFENDANT LOWE’S HOME CENTERS, LLC’S DEMAND FOR
                              TRIAL BY JURY
